                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA

 PSARA ENERGY, LTD.                              CIVIL ACTION

 VERSUS                                          NUMBER: 18-04111

 SPACE SHIPPING, LTD.; GEDEN                     SECTION "B" (2)
 HOLDINGS LTD.; ADVANTAGE START
 SHIPPING, LLC; GENEL DENIZCILIK                 JUDGE LEMELLE
 NAKLIYATI A.S. A/K/A GEDEN
                                                 MAGISTRATE WILKINSON
 LINES; ADVANTAGE TANKERS, LLC;
 ADVANTAGE HOLDINGS, LLC;
 FORWARD HOLDINGS, LLC; MEHMET
 EMIN KARAMEHMET; GULSUN NAZLI
 KARAMEHMET – WILLIAMS; and
 TUĞRUL TOKGÖZ


    MEMORANDUM IN SUPPORT OF MOTION TO VACATE ATTACHMENT

MAY IT PLEASE THE COURT:

         The following memorandum is submitted on behalf of Advantage Start

Shipping, LLC (“Advantage Start”), with full reservation of rights and subject to

its Restricted Appearance pursuant to Rule E(8).

         This case is one of many lawsuits filed arising out of the charter of the M/T

CV STEALTH. Psara Energy, Ltd. (“Psara”) or (“plaintiff”) is the registered owner

of the M/V CV STEALTH.           (Doc. 1, paragraph 2).    The vessel was bareboat

chartered to Defendant Space Shipping, Ltd. (Doc. 1, paragraph 3). Defendant

Space Shipping, Ltd. (“Space”) subsequently time chartered the vessel to ST

Shipping & Transport Pte. Ltd. (Doc. 1, paragraph 21). For reasons which are

not germane to the current litigation, the vessel was detained by authorities in

Venezuela for a period of several years. The vessel was ultimately released, and




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plaintiff Psara alleged in a London arbitration proceeding it brought against

Space that it was in dilapidated condition, in violation of the bareboat charter

requiring the vessel to be re-delivered to the owners “in the same or as good

structure, state, condition and class as that in which she was delivered, fair wear

and tear not affecting class excepted.” (Doc. 1, paragraph 29)

         Plaintiff’s Complaint makes somewhat novel legal arguments, but is based

on wholly unsupported claims alleging that all of the named defendants are

interrelated companies, and all should be responsible for the claims against

Space at issue based on allegations of successor corporation relationship

theories and/or fraudulent transfer allegations.               Plaintiff sought a writ of

attachment under Supplemental Admiralty Rule B for its claims totaling

$19,860,063.80.

         The legal claims put forth in the Complaint are necessarily novel because

on virtually the same facts, between the same parties, the related arguments of

alter ego and veil piercing were rejected in 2016 by the United States District

Court for the Southern District of Texas.1 This decision was reached after the

parties exchanged thousands of pages of discovery and took the depositions of

multiple witnesses. Notwithstanding Plaintiff’s duty on an ex parte application

to disclose to the Court all relevant facts, Plaintiff’s detailed 26 page Complaint




1 Magistrate Judge Francis Stacy allowed discovery on those factual allegations and issued a

    Memorandum and Recommendation finding that there was no evidence of fraudulent
    activity or similar wrongdoing. See Memorandum and Recommendation attached as
    Exhibit “A.”



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filed in this court makes no reference to this decision rejecting the asserted

factual bases for liability.

         Advantage Start, owner of the M/V ADVANTAGE START, disputes all

pertinent factual allegations made by the plaintiff (though these facts were

previously deemed insufficient to support the relief claimed). Advantage Start

also claims that the legal arguments of successor corporation liability and/or

fraudulent transfer liability are meritless for essentially the same reasons given

by the Texas Court in July 2016 which, although given in the context of an alter-

ego allegation, are equally applicable to the current allegation. Advantage Start

therefore reserves the right to move to vacate the attachment on the merits, and

to seek damages for wrongful attachment, due to the lack of merit in these

arguments. However, there is a more direct, equitable and compelling reason for

immediately vacating the attachment.

         As noted earlier, the present lawsuit is one of several filed by plaintiff. A

virtually identical Verified Complaint was filed on the same day as the instant

suit in the United States District Court for the Eastern District of Texas,

Beaumont Division (See Exhibit “B”). The Court will note that the Complaints

are virtually identical except for the vessels being attached. The present action

involves the attachment of the M/V ADVANTAGE START while the Texas action

is against the M/V ADVANTAGE ARROW. However, the factual allegations, the

legal theories and, perhaps most importantly, the elements of damages being

claimed are identical.




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         A Motion to Vacate Attachment or, Alternatively, for a Reduction in

Security was filed, briefed and argued in the United States District Court for the

Eastern District of Texas, Beaumont Division. Following this activity, United

States Magistrate Judge Zack Hawthorn issued the attached Order for Substitute

Security dated May 4, 2018, rejecting plaintiff’s security demand of almost $20

million. Magistrate Judge Hawthorn instead largely accepted the arguments of

the owners of the M/V ADVANTAGE ARROW. A copy of this order is attached

as Exhibit “C.” As this Honorable Court will see, after careful study and analysis,

Magistrate Judge Hawthorn concluded that plaintiff’s claim, fairly stated, was

$2,694,507.78. Allowing for interest, costs and other contingencies, Magistrate

Judge Hawthorn fixed substitute security at $4 million. He further ordered that

upon the posting of $4 million in security, the attachment of the M/V

ADVANTAGE ARROW would be released, because plaintiff’s claims, fairly stated,

would be more than fully secured. The court indicated that it would address the

merits of the motion to vacate the attachment at a later time.

         The plaintiff cannot credibly argue that the two cases in question are

materially different or security is still needed in this case. Plaintiff has one

(highly exaggerated) claim against Space totaling $19,860,063.80. Plaintiff has

made that exact same claim in two different legal proceedings, with the only

difference being the property (vessels) against which the Rule B claims were

asserted. The United States District Court for the Eastern District of Texas,

Beaumont Division, reviewed the claim of $19,860,063.80, and concluded that

it was vastly overstated. The Court concluded that plaintiff’s claim, fairly stated,



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was $2,694,507.78 and fixed security at $4 million. Substitute security in the

amount of $4,000,000 has been posted in the Eastern District of Texas action,

fully securing the plaintiff’s claim. Plaintiff is not entitled to seek additional

security for the same claim simply because there is another vessel allegedly

owned or controlled by the same defendants.

         Plaintiff has refused to dismiss this Louisiana attachment despite

receiving an approved corporate surety bond in the full amount set by the Texas

court after review of plaintiff’s claim. In the Texas court, plaintiff cited several

cases for general propositions of law. A close review shows those cases – as well

as equity and common sense - fully support defendant’s position here.

         For example, in Williamson v. Recovery Ltd. Partnership, 542 F.3d 43 (2nd

Cir 2008), the court noted that Rule B pre-judgment attachment is a “severe

remedy,” and an attachment can be vacated where plaintiff has already obtained

sufficient security for the potential judgment. That is exactly the case here.

Plaintiff has obtained authority for its claim as “fairly stated.” It is not entitled to

continue attaching assets for the exact same claims based on an unsupported,

essentially whimsical claim amount which has already been soundly rejected by

one federal court. This court should not review the same evidence reviewed by

the Texas court, and any “new evidence” plaintiff may produce should be rejected

as unreliable on its face because it was not produced earlier. No plaintiff gets to

try the same claims against the same parties in multiple courts, and no plaintiff

should be allowed multiple bites at the apple regarding pre-judgment security

for the same claims.



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         Another case cited by plaintiff in the Texas court to argue that multiple

attachments can issue notes that this is allowed only if the value of the property

attached falls short of the plaintiff’s damages. That is not the case here, the

plaintiff is receiving the full amount of its claim “fairly stated.” Integrated

Container Services v. Starlines Shipping Ltd., 476 F. Supp. 119 (S.D.N.Y. 1979).

Plaintiff is not entitled to assert highly inflated claims to continue attaching

property and harassing the defendant.

         Finally, another case plaintiff vainly uses to try to support its untenable

position also fully supports defendants’ position here.        It notes that issue

preclusion applies when – as here - identical issues are decided in one court, but

then pressed in a second court. D’Amico Dry Ltd. v. Primera Maritime (Hellas)

Ltd., 116 F. Supp. 3d 349 (S.D.N.Y. 2015). As noted, the Complaints filed in

Texas and Louisiana are identical, except for the vessels attached.

         Issue preclusion does not require the exact same parties, especially when

the plaintiff’s claims have been fully addressed. Here, there is one different party

in the Texas and Louisiana cases, the registered owner of the vessel(s) attached,

but that certainly makes no difference where Plaintiff’s claims were fully heard

and where the gravamen of Plaintiff’s claims is that corporate veils should be

pierced and all defendants should essentially be treated as one.

         The Texas federal court reviewed the evidence and arguments regarding

the claimed damages and decided that plaintiff’s claim, fairly stated, was

$2,694,507.78 and fixed security at $4 million. This security has been posted




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and the Louisiana attachment should be dismissed by plaintiff, or vacated by

this Court.

         For these reasons, the Rule B attachment of the ADVANTAGE START

should be immediately vacated.

                                           Respectfully submitted,

                                           PHELPS DUNBAR LLP


                                           BY:    s/ Kevin J. LaVie
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                                                       Advantage Start Shipping,
                                                       LLC


                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 11th day of May, 2018, I electronically filed

the foregoing pleading with the Clerk of Court by using the CM/ECF system

which will send a notice of electronic filing to all counsel who are CM/ECF

participants.



                                        s/ Kevin J. LaVie
                                        KEVIN J. LAVIE




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